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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS                                       ENTERED
                                HOUSTON DIVISION                                           10/17/2019


                                              §
IN RE:                                        §
                                              §
DARREL T. USELTON                             §    Case No. 17-34351
                                              §
       Debtors.                               §    (Chapter 7)

          ORDER GRANTING FIRST INTERIM APPLICATION OF SPECIAL
          LITIGATION COUNSEL FOR ALLOWANCE OF COMPENSATION
                                    (Docket No. 67)
       The Court, after notice and opportunity for hearing, has considered the First Interim
Application of Special Litigation Counsel for Allowance of Compensation from January 11,
2018 to August 15, 2019 filed by McCloskey Roberson, PLLC (“MR”).

        The Court has determined that the Application meets the requirements as set forth under
Section 328 of the Bankruptcy Code, BANKR. R. 2016 and BANKR. LOC. R. 2016. The Court has
further considered its prior Order approving a contingency fee agreement between the Trustee
and MR. Accordingly, it is ORDERED THAT:

       1.     MR is awarded interim compensation of professional fees in the amount of
$30,439.54 from January 11, 2018 to August 15, 2019 and reimbursement of expenses in the
amount of $7,601.63.

        2.      The Trustee is authorized to pay the compensation and expenses awarded herein
as a chapter 7 administrative expense.


       SIGNED
   Signed:     _________________.
           October 17, 2019

                                             ____________________________________
                                           ____________________________________
                                             DAVID R. JONES
                                           THE  HONORABLE
                                             UNITED          DAVID JONES,
                                                     STATES BANKRUPTCY   JUDGE
                                           UNITED STATES BANKRUPTCY JUDGE
